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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Northern District of Georgia

                 Ramona Thurman Bivins,                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:22-cv-4149
                                                                 )
      Felicia Franklin, in her individual and official           )
   capacities, Alieka Anderson, in her individual and
                                                                 )
official capacities, Gail Hambrick, in her individual and
    official capacities, and Clayton County, Georgia,            )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Felicia Franklin, in her individual and official capacity
                                       1526 Iris Walk
                                       Jonesboro, GA 30238




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Edward D. Buckely and Andrew R. Tate
                                       Buckley Beal LLP
                                       600 Peachtree Street NE, Suite 3900
                                       Atlanta, GA 30308



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                             KEVIN P. WEIMER
                                                                            CLERK OF COURT


Date:           10/18/2022                                                               s/Stephanie Wilson-Bynum
                                                                                        Signature of Clerk or Deputy Clerk
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